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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             February 23, 2021
                       FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

DWIGHT RUSSELL, et al.,                          §
                                                 §
                      Plaintiffs,                §
                                                 §
v.                                               §           CIVIL ACTION NO. H-19-226
                                                 §
HARRIS COUNTY, TEXAS, et al.,                    §
                                                 §
                      Defendants.                §

                                             ORDER

       The plaintiffs filed an unopposed motion to modify the scheduling order under Federal

Rule of Civil Procedure 16(b), citing good cause. (Docket Entry No. 388). “The good cause

standard requires the party seeking relief to show that the deadlines cannot reasonably be met

despite the diligence of the party needing the extension.” S&W Enters., L.L.C. v. SouthTrust Bank

of Ala., NA, 315 F.3d 533, 535 (5th Cir. 2003) (quotation omitted).

       The plaintiffs have diligently pursued discovery. Because of the compressed discovery

timeline, they request a minor modification to the scheduling order to accommodate discovery

requests served after depositions conducted in March.

       The agreed motion to modify the scheduling and docket control order, (Docket Entry No.

406), is granted. Written discovery requests are not timely if they are served after April 23, 2021



       SIGNED on February 23, 2021, at Houston, Texas.




                                             _______________________________________
                                                          Lee H. Rosenthal
                                                   Chief United States District Judge
